Case 0:10-cv-60082-KMM Document 1 Entered on FLSD Docket 01/19/2010 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION

 Nataleen Guzman,                                    Case No.:

          Plaintiff,                                 Judge:

 v.                                                     COMPLAINT FOR DAMAGES
                                                     UNDER THE FAIR DEBT COLLECTION
 Academy Collection Service, Inc.,                      PRACTICES ACT AND OTHER
                                                            EQUITABLE RELIEF
          Defendant.
                                                      JURY DEMAND ENDORSED HEREIN


                                    JURISDICTION AND VENUE

 1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

      giving rise to this claim occurred in this judicial district.

                                  FACTS COMMON TO ALL COUNTS

 2. Plaintiff is a natural person that resided in Coconut Creek, Florida at all times relevant to this

      action.

 3. Defendant is a Pennsylvania corporation that maintained its principal place of business in

      Philadelphia, Pennsylvania at all times relevant to this action.

 4. Defendant is a “debt collector” as defined by 15 U.S.C. §1692a(6).

 5. As described below, Defendant attempted to collect a debt from plaintiff, which is a “debt”

      as defined by 15 U.S.C. §1692a(5).

 6. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).




                                                      1
Case 0:10-cv-60082-KMM Document 1 Entered on FLSD Docket 01/19/2010 Page 2 of 3




 7. Between December 2009 and January 2010, Defendant telephoned Plaintiff’s sister-in-law

    (“Gwen”) on numerous occasions in connection with the collection of the debt without

    Plaintiff’s consent.

 8. At the time of these communications, Defendant already had Plaintiff’s location information.

 9. During several of these communications, Defendant disclosed to Gwen that Plaintiff owed

    the debt.

 10. During at least two of these communications, Gwen informed Defendant that Plaintiff could

    not be reached at Gwen’s residence and refused to provide Defendant with any further

    information about Plaintiff, but Defendant continued to call.

 11. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

    anxiety and stress.

 12. Defendant violated the FDCPA.

                                            COUNT ONE

                          Violation of the Fair Debt Collection Practices Act

 13. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

 14. Defendant violated 15 U.S.C. §1692c by communicating with a third party in connection

    with the collection of the debt without Plaintiff’s consent.

                                            COUNT TWO

 15. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

 16. Defendant violated 15 U.S.C. §1692d by engaging in conduct in connection with the

    collection of the debt the natural consequence of which was to harass, oppress, or abuse

    Plaintiff.




                                                   2
Case 0:10-cv-60082-KMM Document 1 Entered on FLSD Docket 01/19/2010 Page 3 of 3




                                           COUNT THREE

                        Violation of the Fair Debt Collection Practices Act

 17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

 18. The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

     unconscionable means to collect the debt.

                                           JURY DEMAND

 19. Plaintiff demands a trial by jury.

                                       PRAYER FOR RELIEF

 20. Plaintiff prays for the following relief:

             a. Judgment against Defendant for actual damages, statutory damages, and costs and

                 reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

             b. For such other legal and/or equitable relief as the Court deems appropriate.




                                                 RESPECTFULLY SUBMITTED,

                                                 Legal Helpers, P.C.

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